The appellee herein filed a motion to dismiss the appeal. Such motion was granted but thereafter, upon a showing which we thought justified it, the order of dismissal was vacated and the case reinstated.
The appellant has filed its brief and made a number of assignments of error, to which appellee has made no answer. We have held, when appellee fails to answer appellant's assignments of error, we will treat such failure as tantamount to a confession of error and reverse the case. The cases holding thus are: Skelsey v. Kuhn, 23 Ariz. 367, 203 P. 1082; Hatch v.Leighton, 24 Ariz. 300, 209 P. 300; Tarbell v. Rivera,31 Ariz. 214, 251 P. 553. This is especially so if any debatable question is raised by an appellant. Navarro v. State,32 Ariz. 119, 256 P. 114; Adkins v. Adkins, 39 Ariz. 530,8 P.2d 248; Welch v. United Mutual Benefit Assn., 48 Ariz. 173,60 P.2d 931.
The judgment is reversed and the cause remanded for a new trial.
LOCKWOOD and McALISTER JJ., concur.